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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,                          )
SMARTMATIC HOLDING B.V., AND                   )
SGO CORPORATION LIMITED,                       )
                                               )
                  Plaintiffs,                  )
                                                    Civil Action No. 1:21-cv-02900-CJN
       v.                                      )
                                               )
HERRING NETWORKS, INC., D/B/A                  )
ONE AMERICA NEWS NETWORK,                      )
                                               )
                  Defendant.                   )

                      DEFENDANT OAN’S INDEX OF EXHIBITS

       Defendant Herring Networks, Inc., d/b/a One America News Network, pursuant to

paragraph 8(b) of the Standing Order for Civil Cases, see ECF No. 5, submits its Index of

Exhibits to the Motion for Protective Order Forbidding Plaintiffs’ Third-Party Discovery That

Violates the Scheduling Order as follows:

    Exhibit A        Declaration of John Edwards

    Exhibit B        Notice of Media Matters Subpoenas

    Exhibit C        Notice of Kagan Subpoenas

    Exhibit D        Notice of Project Veritas Subpoenas

    Exhibit E        Notice of ComScore Subpoena




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